Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 1 of 95 PageID: 5
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 2 of 95 PageID: 6
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 3 of 95 PageID: 7
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 4 of 95 PageID: 8
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 5 of 95 PageID: 9
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 6 of 95 PageID: 10
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 7 of 95 PageID: 11
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 8 of 95 PageID: 12
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 9 of 95 PageID: 13
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 10 of 95 PageID: 14
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 11 of 95 PageID: 15
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 12 of 95 PageID: 16
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 13 of 95 PageID: 17
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 14 of 95 PageID: 18
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 15 of 95 PageID: 19
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 16 of 95 PageID: 20
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 17 of 95 PageID: 21
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 18 of 95 PageID: 22
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 19 of 95 PageID: 23
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 20 of 95 PageID: 24
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 21 of 95 PageID: 25
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 22 of 95 PageID: 26
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 23 of 95 PageID: 27
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 24 of 95 PageID: 28
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 25 of 95 PageID: 29
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 26 of 95 PageID: 30
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 27 of 95 PageID: 31
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 28 of 95 PageID: 32
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 29 of 95 PageID: 33
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 30 of 95 PageID: 34
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 31 of 95 PageID: 35
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 32 of 95 PageID: 36
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 33 of 95 PageID: 37
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 34 of 95 PageID: 38
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 35 of 95 PageID: 39
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 36 of 95 PageID: 40
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 37 of 95 PageID: 41
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 38 of 95 PageID: 42
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 39 of 95 PageID: 43
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 40 of 95 PageID: 44
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 41 of 95 PageID: 45
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 42 of 95 PageID: 46
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 43 of 95 PageID: 47
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 44 of 95 PageID: 48
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 45 of 95 PageID: 49
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 46 of 95 PageID: 50
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 47 of 95 PageID: 51
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 48 of 95 PageID: 52
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 49 of 95 PageID: 53
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 50 of 95 PageID: 54
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 51 of 95 PageID: 55
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 52 of 95 PageID: 56
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 53 of 95 PageID: 57
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 54 of 95 PageID: 58
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 55 of 95 PageID: 59
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 56 of 95 PageID: 60
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 57 of 95 PageID: 61
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 58 of 95 PageID: 62
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 59 of 95 PageID: 63
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 60 of 95 PageID: 64
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 61 of 95 PageID: 65
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 62 of 95 PageID: 66
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 63 of 95 PageID: 67
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 64 of 95 PageID: 68
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 65 of 95 PageID: 69
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 66 of 95 PageID: 70
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 67 of 95 PageID: 71
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 68 of 95 PageID: 72
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 69 of 95 PageID: 73
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 70 of 95 PageID: 74
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 71 of 95 PageID: 75
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 72 of 95 PageID: 76
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 73 of 95 PageID: 77
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 74 of 95 PageID: 78
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 75 of 95 PageID: 79
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 76 of 95 PageID: 80
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 77 of 95 PageID: 81
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 78 of 95 PageID: 82
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 79 of 95 PageID: 83
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 80 of 95 PageID: 84
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 81 of 95 PageID: 85
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 82 of 95 PageID: 86
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 83 of 95 PageID: 87
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 84 of 95 PageID: 88
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 85 of 95 PageID: 89
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 86 of 95 PageID: 90
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 87 of 95 PageID: 91
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 88 of 95 PageID: 92
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 89 of 95 PageID: 93
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 90 of 95 PageID: 94
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 91 of 95 PageID: 95
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 92 of 95 PageID: 96
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 93 of 95 PageID: 97
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 94 of 95 PageID: 98
Case 2:21-cv-20394-CCC-JBC Document 1-1 Filed 12/07/21 Page 95 of 95 PageID: 99
